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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NEW YORK
_________________________________________
CHRISTOPHER GODSON, on behalf of
himself and all others similarly situated,
                                           No. 11-CV-764(EAW)(HKS)
                          Plaintiff,
            vs.                            CLASS ACTION


ELTMAN, ELTMAN & COOPER, P.C. and
LVNV FUNDING, LLC,

                        Defendants.
__________________________________________


                   Declaration of Brian L. Bromberg in Support of
    Plaintiffs’ Motion for Final Approval and Award of Attorney Fees and Costs

      Under 28 U.S.C. § 1746, I, Brian L. Bromberg, do hereby declare under

penalty of perjury, that the following is true and correct:

      1.     I am a principal of the Bromberg Law Office, P.C.

      2.     I am submitting this Declaration in support of Plaintiffs’ motion for

final approval of the class-action settlement and in support of Plaintiffs’ request for

an award of attorney fees, costs, and expenses incurred in litigating the appeal on

this case.

      3.     My rate on this matter is $550 an hour.

      4.     The credentials and court decisions upon which I base my hourly rate

are as follows:

      5.     I graduated from Oberlin College with a B.A. in Philosophy in 1987.

      6.     I earned my J.D. from Brooklyn Law School in 1991.




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      7.   I am a member in good standing of the bars of the following state

courts:

           New York State Bar (Appellate Division, Second Department)
           March 4, 1992

           California Bar
           July 17, 2006

           New Jersey Bar
           June 19, 2017

      7.   I am a member in good standing of the following federal courts:

           U.S. District Court for the Southern District of New York
           May 19, 1992

           U.S. District Court for the Eastern District of New York
           June 10, 1992

           United States Court of Appeals for the Second Circuit
           January 10, 2002

           Supreme Court of the United States
           August 4, 2003

           U.S. District Court for the Northern District of Illinois
           August 15, 2003

           United States Court of Appeals for the Seventh Circuit
           May 13, 2004

           U.S. District Court for the Western District of New York
           December 6, 2004

           U.S. District Court for the Northern District of New York
           January 4, 2005

           U.S. District Court for the Northern District of Indiana
           August 30, 2005

           U.S. District Court for the District of Connecticut
           March 3, 2006



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        U.S. District Court for the Northern District of California
        August 7, 2006

        U.S. District Court for the Central District of California
        August 10, 2006

        U.S. District Court for the Southern District of California
        August 24, 2006

        U.S. District Court for the Eastern District of California
        August 29, 2006

        U.S. District Court for the Western District of Wisconsin
        May 14, 2008

        United States Court of Appeals for the Third Circuit
        August 12, 2009

        United States Court of Appeals for the Fourth Circuit
        April 11, 2011

        United States Court of Appeals for the Eleventh Circuit
        August 19, 2011

        U.S. District Court for the Southern District of Indiana
        November 16, 2015

        U.S. District Court for the Southern District of Texas
        January 19, 2017

        U.S. District Court for the District of Colorado
        April 20, 2017

        U.S. District Court for the District of New Jersey
        July 6, 2017

        U.S. District Court for the Eastern District of Missouri
        June 28, 2018

  8.    I have been admitted pro hac vice to the following courts:

              U.S. District Court for the Southern District of Florida

              U.S. District Court for the District of Maryland



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                     U.S. District Court for the District of Minnesota

                     U.S. District Court for the District of Nevada

                     U.S. District Court for the Southern District of Ohio

                     U.S. District Court for the Eastern District of Pennsylvania

                     U.S. District Court for the Western District of Pennsylvania

                     U.S. District Court for the Eastern District of Virginia

                            Background and Qualifications

      9.     From 1991 until October 2001, I was employed by the law office of

Peter Marc Stern in New York, New York.

      10.    In October 2001, I started my own practice, Bromberg Law Office, P.C.,

f/k/a Brian L. Bromberg, P.C., concentrating in the field of consumer protection law.

      11.    I have experience in the fields of commercial litigation, bankruptcy,

real estate, landlord/tenant law, trusts and estates, and criminal law.

      12.    I now focus my practice on representation of consumers in consumer

rights litigation and class actions.

      13.    I am a member of the following professional organizations:

             Federal Bar Council
             National Association of Consumer Advocates
             Association of Small Claims Court Arbitrators

      14.    In November 2014, I was elected to the Board of Directors of the

National Association of Consumer Advocates (NACA); in 2017, I was reelected to

the same position.




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      15.    With over 1,700 members, NACA is the premier membership

organization for consumer-protection attorneys in the United States.

      16.    In November 2015, I was elected Treasurer of NACA; in 2017, I was

reelected to the same position.

      17.    I am the principal author of an amicus curiae brief filed on behalf of

AARP and NACA in the case of Naposki v. The First National Bank of Atlanta d/b/a

Wachovia Bank Card Services, and Wachovia Corporation, New York Supreme

Court, Appellate Division, Second Department, Appellate Case No. 2002-02506.

      18.    On behalf of NACA, I also helped prepare an amicus curiae brief

submitted (on October 6, 2006) to the New York Court of Appeals by NACA and 12

other non-profit legal services and public interest organizations, in the case entitled

Merscorp, Inc. v. Romaine. I have assisted in the preparation of other amicus briefs

that affect consumers’ rights.

      19.    I am experienced in trial and appellate court litigation and have the

following reported cases, among others:

      Gonzalez-Vasquez v. Mayors Auto Group-Woodside, LLC, 60 Misc.3d 1211(A)
             (S.Ct., Bronx Cty 2018)

      Ruane v. Bank of America, N.A., 308 F.Supp.3d 718 (E.D.N.Y. 2018)

      Biber v. Pioneer Credit Recovery, Inc., 2018 WL 1633603 (E.D.Vir. Jan. 31,
             2018)

      Ross v. Convergent Outsourcing, Inc., 323 F.R.D. 656 (D.Co. 2018)

      Moukengeschaie v. Eltman, Eltman & Cooper, P.C., 2017 WL 4404433
             (E.D.N.Y. Sept. 29, 2017)




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  Dixon v. A Better Way Wholesale Autos, Inc., 692 Fed.Appx. 664 (2d Cir.
        2017) (summary order)

  Franco v. A Better Way Wholesale Autos, Inc., 690 Fed.Appx. 741 (2d Cir.
        2017) (summary order)

  Eades v. Kennedy, PC Law Offices, 2016 6988913 (W.D.N.Y. Nov. 22, 2016)

  McCrobie v. Palisades Acquisition XVI, LLC, 664 Fed.Appx. 81 (2d Cir. 2016)
        (summary order)

  White v. Fein, Such and Crane, LLP, 2016 WL 6493415 (W.D.N.Y. Nov. 1,
        2016)

  Annunziato v. Collecto, Inc., 207 F.SUpp.3d 249 (E.D.N.Y. 2016)

  Godson v. Eltman, Eltman & Cooper, PC, 177 F.Supp.3d 803 (W.D.N.Y. 2016)

  Godson v. Eltman, Eltman & Cooper, PC, 2015 WL 9434228 (W.D.N.Y. Dec.
        22, 2015)

  Godson v. Eltman, Eltman & Cooper, PC, 2015 WL 5784908 (W.D.N.Y. Sept.
        30, 2015)

  Hallmark v. Cohen & Slamowitz, LLP, 2015 WL 4483959 (W.D.N.Y. July 22,
        2015)

  Dykes v. Portfolio Recovery Associates, LLC, 111 F.Supp.3d 739 (E.D.
        Virginia 2015)

  Eades v. Kennedy, PC Law Offices, 799 F.3d 161 (2d Cir. 2015)

  Dykes v. Portfolio Recovery Associates, LLC, 306 F.R.D. 529 (E.D. Virginia
        2015)

  Hallmark v. Cohen & Slamowitz, LLP, 307 F.R.D. 102 (W.D.N.Y. 2015)

  Sickler v. Colvin, 2015 WL 1600320 (S.D.N.Y. Apr. 9, 2015)

  Annunziato v. Collecto, Inc., 304 F.R.D. 165 (E.D.N.Y. 2015)

  Hallmark v. Cohen & Slamowitz, LLP, 304 F.R.D. 165 (W.D.N.Y. 2015)




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  Kalkstein v. Collecto, Inc., 304 F.R.D. 114, 2015 WL 59246 (E.D.N.Y. Jan. 2,
        2015)

  Clarke v. Hudson Valley Federal Credit Union, 2014 WL 6791184 (S.D.N.Y.
        Dec. 2, 2014)

  DeJesus v. City of New York, 55 F.Supp.3d 520 (S.D.N.Y. Oct. 28, 2014)

  Hallmark v. Cohen & Slamowitz, LLP, 302 F.R.D. 295 (W.D.N.Y. 2014)

  Hallmark v. Cohen & Slamowitz, LLP, 2014 WL 2028426 (W.D.N.Y. Sept. 15,
        2014)

  Stinson v. Delta Management Associates, Inc., 302 F.R.D. 160 (S.D.Ohio
        2014)

  Hallmark v. Cohen & Slamowitz, LLP, 300 F.R.D. 110 (W.D.N.Y. 2014)

  Annunziato v. Collecto, Inc., 2014 WL 1410255 (E.D.N.Y. April 12, 2014)

  Torres v. Toback, Bernstein & Reiss LLP, 2014 WL 988480 (E.D.N.Y. Mar.
        14, 2014) (report and recommendation), adopted in part, rejected in
        part, Torres v. Toback, Bernstein & Reiss LLP, 2014 WL 1330957
        (E.D.N.Y. Mar. 31, 2014)

  Kelen v. World Financial Network National Bank, 295 F.R.D. 87 (S.D.N.Y.
        2013)

  Hallmark v. Cohen & Slamowitz, LLP, 293 F.R.D. 410 (W.D.N.Y. 2013),
        reconsideration denied, 2014 WL 51322 (Jan. 8, 2014)

  Godson v. Eltman, Eltman & Cooper, PC, 2013 WL 4832715 (W.D.N.Y. Sept.
        11, 2013)

  Castro v. Green Tree Servicing, LLC, 959 F.Supp.2d 698 (S.D.N.Y. 2013).

  Annunziato v. Collecto, Inc., 293 F.R.D. 329 (E.D.N.Y. 2013)

  Rubinstein v. Department Stores Nat. Bank, 955 F.Supp.2d 260 (S.D.N.Y.
        2013)

  Taub v. Department Stores Nat. Bank, 950 F.Supp.2d 698 (S.D.N.Y. 2013)

  Lee v. Forster & Garbus LLP, 926 F.Supp.2d 482 (E.D.N.Y. 2013)


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  Linsley v. FMS Investment Corp., 288 F.R.D. 11 (D.Conn. 2013)

  Easterling v. Collecto, Inc., 692 F.3d 229 (2d Cir. 2012)

  Dashiell v. Van Ru Credit Corp., 283 F.R.D. 319 (E.D.Virginia 2012)

  Phillips v. City of New York, 871 F.Supp.2d 200 (E.D.N.Y. 2012)

  Castro v. Green Tree Servicing LLC, 2012 WL 2428190 (S.D.N.Y. June 22,
        2012)

  Hallmark v. Cohen & Slamowitz, LLP, 283 F.R.D. 136 (W.D.N.Y. 2012)

  Torres v. Toback, Bernstein & Reiss LLP, 278 F.R.D. 321 (E.D.N.Y. 2012)

  Ellis v. General Revenue Corp., 274 F.R.D. 53 (D. Conn. 2011), motion to
        certify appeal denied, 2011 WL 2669155 (D. Conn. July 6, 2011), and
        leave to appeal denied, 2011 WL 3490271 (2d Cir. Aug. 9 2011)

  Hess v. Cohen & Slamowitz LLP, 637 F.3d 117 (2d Cir. 2011)

  Rubinstein v. Department Stores National Bank, 2011 WL 147721 (S.D.N.Y.
        Jan. 11, 2011)

  Cunningham v. Electronic Data Systems Corp., 754 F. Supp. 2d 638
        (S.D.N.Y. 2010)

  Follman v. World Financial Network National Bank, 721 F. Supp. 2d 158
        (E.D.N.Y. 2010)

  Taub v. Big M, Inc., 719 F. Supp. 2d 325 (S.D.N.Y. 2010)

  Lemire v. Wolpoff & Abramson, LLP, 2010 WL 1444581 (D. Conn. April 9,
        2010)

  Tobey v. National Action Financial Services, Inc., 2009 WL 3734320
        (E.D.N.Y. Nov. 4, 2009)

  Miller v. Upton, Cohen & Slamowitz, 579 F. Supp. 2d 189 (E.D.N.Y. Oct. 5,
        2009)

  Lemire v. Wolpoff & Abramson, LLP, 256 F.R.D. 321 (D. Conn. 2009)




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  Larsen v. JBC Legal Group, P.C., 588 F. Supp. 2d 360 (E.D.N.Y. 2008)

  Larsen v. JBC Legal Group, P.C., 533 F. Supp. 2d 290 (E.D.N.Y. 2008)

  Santoro v. Aargon Agency, Inc., 252 F.R.D. 675 (D. Nev. 2008)

  Francis v. A&E Stores, Inc., 2008 WL 46129858 (S.D.N.Y. Oct. 16, 2008)
        (adopting report and recommendation, as modified), and 2008 WL
        2588851 (S.D.N.Y. June 26, 2008) (report and recommendation)

  Bowens v. Atlantic Maintenance Corp., 2008 WL 704319 (E.D.N.Y. March 14,
        2008)

  Simon v. Williams & Fudge, Inc., 2008 WL 268294 (S.D.N.Y. Jan. 28, 2008)

  Ingram v. Coach USA, Inc., 2008 WL 281224 (D.N.J. Jan. 28, 2008)

  Henry v. Westchester Foreign Autos, Inc., 522 F. Supp. 2d 610 (S.D.N.Y.
        2007)

  Meselsohn v. Lerman, 485 F. Supp. 2d 215 (E.D.N.Y. 2007)

  Ayzelman v. Statewide Credit Services Corp., 242 F.R.D. 23 (E.D.N.Y. 2007)

  Ayzelman v. Statewide Credit Services Corp., 2006 WL 3388651 (E.D.N.Y.
        Nov. 21, 2006)

  Bourlas v. Davis Law Associates, 237 F.R.D. 345 (E.D.N.Y. 2006)

  Trevino v. ACB American, Inc., 2006 WL 391797 (N.D. Cal. Feb. 17, 2006)

  Trevino v. ACB American, Inc., 232 F.R.D. 612 (N.D. Cal. 2006)

  Lawrence v. Borah, Goldstein, Altschuler, Schwartz & Nahins, P.C., 2005 WL
        2875383 (S.D.N.Y. Nov. 1, 2005)

  Naposki v. First Nat. Bank of Atlanta, 18 A.D.3d 834, 797 N.Y.S.2d 99 (2d
        Dept. 2005)

  Burns v. First American Bank, 2005 WL 1126904 (N.D. Ill. April 28, 2005)

  Weniger v. Arrow Financial Services, LLC, 2004 WL 2980646 (N.D. Ill. Dec.
        21, 2004)




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      Weniger v. Arrow Financial Services, LLC, 2004 WL 2609192 (N.D. Ill. Nov.
            17, 2004)

      Jacobs v. ABN-Amro Bank N.V., 2004 WL 869557 (E.D.N.Y. April 21, 2004)

      Bracken v. Harris & Zide , L.L.P., 219 F.R.D. 481 (N.D. Cal. 2004)

      McDowall v. Leschack & Grodensky, P.C., 279 F. Supp. 2d 197 (S.D.N.Y.
            2003)

      McDowall v. Cogan, 216 F.R.D. 46 (E.D.N.Y. 2003)

      Miller v. Wolpoff & Abramson, LLP, 471 F. Supp. 2d 243 (E.D.N.Y. 2007)

      Miller v. Wolpoff & Abramson, LLP, 321 F.3d 292 (2d Cir. 2003)

      Trang v. HSBC Mortgage Corp., NYLJ, April 17, 2002, p. 28, col. 3

      Mailloux v. Arrow Financial Services, LLC, 204 F.R.D. 38 (E.D.N.Y. 2001)

      Mailloux v. Arrow Financial Services, LLC, 2002 WL 246771 (E.D.N.Y. Feb.
            21, 2002)

      20.   I am also experienced in consumer fraud class action litigation and

have participated in the following filed cases, among many others:

            Ayzelman v. Statewide Credit Services Corp., EDNY, Case No. 04-CV-
                    3732 (statewide New York FDCPA settlement class certification
                    of 624 members; settlement approved)

            Beaubrun v. Eric Streich, P.C., EDNY, Case No. 06-CV-6598
                    (statewide New York FDCPA settlement class certification of
                    1,572 members; settlement approved)

            Bourlas v. Davis Law Associates, EDNY, Case No. 05-CV-4548
                    (statewide New York FDCPA settlement class certification of
                    2,834 members; settlement approved)

            Biber v. Pioneer Credit Recovery, Inc., E.D.Vir., Case No. 16-CV-804
                    (nationwide FDCPA settlement class certification of 217,815
                    members; settlement approved)




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         Bracken v. Harris & Zide, L.L.P., N.D.Cal., Case No. C 02-5146
               (statewide California FDCPA settlement class certification of
               3,534 members; settlement approved)

         Cinelli v. MCS Claim Services, Inc., EDNY, Case No. 04-CV-3809
               (statewide New York FDCPA settlement class certification of
               2,112 members; settlement approved)

         Dashiell v. Van Ru Credit Corp., E.D.Virginia, Case No. 12-CV-273
               (statewide Virginia FDCPA settlement class certification of 65
               members; settlement approved)

         DePrisco v. MCS Claim Services, Inc., EDNY, Case No. 03-CV-1642
               (statewide New York FDCPA settlement class certification of
               5,471 members; settlement approved)

         Eason v. AFNI, Inc., D. Md., Case No. 08-CV-128
               (Maryland FDCPA class action certified through motion; class of
               approximately 63,000 members; settlement approved)

         Easterling v. Collecto, Inc., W.D.N.Y., Case No. 09-CV-669 (statewide
               New York FDCPA settlement class certification of 181 members;
               settlement approved)

         Frank v. Sontag & Hyman, P.C., EDNY, Case No. 03-CV-6031
               (statewide New York FDCPA settlement class certification of
               4,809 members; settlement approved)

         Jacobs v. Law Offices of Mitchell N. Kay, EDNY, Case No. 02-CV-1062
               (nationwide FDCPA settlement class certification of 97
               members; settlement approved)

         Jasper v. Account Control Technology, Inc., E.D.Virginia, Case No. 13-
               CV-296 (FDCPA settlement class certification; settlement
               approved)

         Lawrence v. Borah, Goldstein, Altschuler, Schwartz & Nahins, P.C.,
               SDNY, Case No. 04-CV-3066(JCF)(statewide New York FDCPA
               settlement class certification of 7,150 members; settlement
               approved)

         Lewis v. Northeast Credit & Collections, Inc., SDNY, Case No. 07-CV-
               11593(SCR) ((statewide New York FDCPA class action certified




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               through motion, class of over 6,000 members; settlement
               approved)

         Mailloux v. Arrow Financial Services, EDNY, Case No. 01-CV-2000
               (statewide New York FDCPA settlement class certification of
               554 members; settlement approved)

         McDowall v. Cogan, EDNY, Case No. 03-CV-419 (statewide New York
               FDCPA settlement class certification of 593 members;
               settlement approved)

         Meselsohn v. Lerman, EDNY, Case No. 06-CV-4115 (statewide New
               York FDCPA settlement class certification of 2,384 members;
               settlement approved)

         Miller v. Berks Credit & Collections, Inc., EDNY, Case No. 02-CV-3633
               (statewide New York FDCPA settlement class certification of
               2,354 members; settlement approved)

         Milo v. Barneys, Inc., SDNY, Case No. 10-cv-3133 (TILA settlement
               class certification of 1,500 class members; settlement approved)

         Mitchell v. Surpas Resource Corporation, SDNY, 01-CV-7230-WP
               (state-wide New York FDCPA settlement class certification of
               over 6,000 members; settlement approved)

         Morris v. CACH, LLC, D.Nev., 13-CV-270 (statewide Nevada FDCPA
               settlement class certification of over 1,000 members; settlement
               approved)

         Napoleon v. Pugh, N.D.Cal., Case No. C 02-5149 (statewide California
               FDCPA settlement class certification of 9,278 members;
               settlement approved)

         Richman v. Carol Wright Promotions, Inc., Supreme Court, Queens
               County, Index No. 26824/02 (nationwide consumer fraud
               settlement class certification of approximately 5 million
               members; settlement approved)

         Rubinstein v. Department Stores National Bank, S.D.N.Y., Case No.
               08-CV-1596 (nationwide TILA settlement class certification of
               approximately 30 million class members; settlement approved)




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             Santoro v. Aargon Agency, Inc., D.Nev., Case No. 07-cv-1003
                   (statewide Nevada FDCPA class certified through motion; class
                   of approximately 10,000 members)

             Schwartz v. GE Capital Consumer Card Co., EDNY, Case No. 06-CV-
                   394 (nationwide TILA settlement class certification of 237,748
                   members; settlement approved)

             Stinson v. Delta Management Associates, Inc., S.D.Ohio, Case No. 13-
                   CV-238 (FDCPA settlement class certification; settlement
                   approved)

             Strubel v. Talbots Classics National Bank, S.D.N.Y., Case No. 13-CV-
                   1106 (TILA settlement class certification; settlement approved)

             Tinsley v. Kay, EDNY, Case No. 04-CV-2253 (statewide New York
                   FDCPA settlement class certification of 53,907 members;
                   settlement approved)

             Trang v. HSBC Mortgage Corp., Supreme Court, Queens County,
                   Index No. 21810/01 (violations of NYS General Business Law §
                   349 & Real Property Law § 274-a; statewide New York
                   settlement class certification of over 14,000 members;
                   settlement approved)

      21.    In addition, I served on the National Association of Consumer

Advocates Class Action Guidelines Revision Committee. The Committee revised the

1997 NACA Guidelines for Litigating and Settling Consumer Class Actions, 176

F.R.D. 375 (1998). The revised Guidelines, Nat’l Ass’n of Consumer Advocates,

Standards and Guidelines for Litigating and Settling Consumer Class Actions (rev.

2006), were adopted and published at 255 F.R.D. 215 (2d ed. 2006). (The Guidelines

have recently been revised a third time, but I was not involved in that revision.)

      22.    From 2007-2009 and from 2012-2014, I served on the Consumer Affairs

Committee of the Association of the Bar of the City of New York.




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      23.    From 2009-2012, I served on the Civil Courts Committee of the

Association of the Bar of the City of New York.

      24.    I have spoken to the public about consumer-protection issues and

lobbied Congress concerning consumer-protection issues and spoken at a press

conference in support of a bill introduced in Congress to provide consumers with

more information and give them greater protection when they use credit cards.

      25.    I have testified concerning debt-collection abuse before the New York

City Department of Consumer Affairs and the New York State General Assembly

Committee on Consumer Affairs and Protection.

      26.    I lectured at National Consumer Law Center (NCLC) and National

Association of Consumer Advocates (NACA) conferences in November 2006, March

2007, September 2007, November 2007, March 2008, May 2008, February 2009,

March 2010, November 2010, March 2011, November 2011, February 2012, March

2014, March 2015, March 2016, March 2017, April 2017, and March 2018. In

addition, I will be lecturing next month at the annual NCLC Conference in Denver

about the Electronic Fund Transfer Act, 15 U.S.C. § 1693, et seq.

      27.    I have also spoken on consumer-law issues at the Association of the

Bar of the City of New York, the New York County Lawyers Association, the Suffolk

County Bar Association, the Association of Small Claims Court Arbitrators, and

New York Law School.

      28.    In December 2009, I participated in a Federal Trade Commission Debt

Collection Roundtable.




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        29.   In February 2010, MFY Legal Services, Inc. (recently renamed

“Mobilization for Justice”) honored me for my work on consumer rights with a

Partner in Justice Award, “in recognition of exemplary pro bono service and

commitment to ensuring equal access to justice for all.”

        30.   In April 2012, I was invited to speak about “Class Action

Developments and Settlements” at the premier class-action-defense-bar conference:

Practising Law Institute’s “17th Annual Consumer Financial Services Institute in

NYC.”

        31.   In July 2013, I was invited to speak again on a Practising Law

Institute panel for a program entitled “Representing the Pro Bono Client: Consumer

Law Basics 2013.

        32.   In November 2016, I was invited to speak on a panel of attorneys at

New York Law School about the Consumer Financial Protection Bureau’s

anticipated rules prohibiting the class-action waivers in arbitration clauses in

consumer contracts and requiring the reporting of detailed records concerning the

results of consumer-arbitration proceedings. (Shortly thereafter, the rules were

promulgated by the CFPB, but they were overturned by Congress under the

Congressional Review Act.)

        33.   In addition, although not related to consumer-finance issues, I have

frequently served as pro bono amicus counsel on behalf of food-policy organizations

attempting to address issues concerning obesity and nutritional labelling.




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                                 My Hourly Rate

      34.   I am billing $550 an hour.

      35.   As my expertise in the field of consumer litigation has increased,

federal judges have by-and-large steadily increased my approved rates:

            a. $200/hour – Cooper v. Sunshine Recoveries, Inc., No. 00-CIV-

               8898(LTS)(JCF), 2001 WL 740765 (S.D.N.Y. Francis, M.J. June 27,

               2001) (FDCPA case in Manhattan)

            b. $225/hour – Kapoor v. Rosenthal, 269 F.Supp.2d 408 (S.D.N.Y.

               Ellis, M.J. 2003) (FDCPA case in Manhattan)

            c. $300/hour – Cinelli v. MCS Claim Svcs., 236 F.R.D. 118 (E.D.N.Y.

               Boyle, M.J. 2006) (FDCPA case in Central Islip)

            d. $300/hour – Larsen v. JBC Legal Group, P.C., 588 F.Supp.2d 360

               (E.D.N.Y. Boyle, M.J. 2006) (FDCPA case in Central Islip)

            e. $350/hour (plus a 1.38 multiplier) – Lewis v. Northeast Credit &

               Collections, Inc., S.D.N.Y. No. 07-CV-11593(SCR) (Robinson, J.)

               (FDCPA case in White Plains; no written decision, but the

               multiplier request and the resulting court order, filed September 2,

               2009, are reflected on PACER)

            f. $400/hour (plus a 2.0 multiplier) – Schwartz v. GE Capital

               Consumer Card Co., E.D.N.Y. No. 06-CV-394(JMA) (Azrack, M.J.)

               (TILA case in Brooklyn; no written decision, but the multiplier




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            request and the resulting order, filed September 25, 2007, are

            reflected on PACER)

         g. $450/hour (plus a 2.25 multiplier) – Rubinstein v. Department

            Stores National Bank, No. 08-cv-1596(LTS)(GWG), 2011 WL

            147721 (S.D.N.Y. Jan. 11, 2011)

         h. $500/hour – Milo v. Barneys, Inc., SDNY, Case No. 10-cv-3133

            (PKC) (TILA case in Manhattan; no written decision, but the rate

            and the resulting order are reflected on PACER)

         i. $550/hour (plus a 3.2 multiplier) – Strubel v. Talbots Classics

            National Bank, S.D.N.Y., Case No. 13-CV-1106 (PAE) (TILA case in

            Manhattan; no written decision, but the rate and the resulting

            order are discussed at length on the record by Judge Engelmayer)

         j. $550/hour (plus a 1.5 multiplier) – Biber v. Pioneer Credit

            Recovery, Inc., E.D. Vir. Case No. 16-CV-804 (FDCPA case in

            Virginia; the court’s written decision granting final approval, Biber

            v. Pioneer Credit Recovery, Inc., 2018 WL 1633603 (E.D.Vir. Jan.

            31, 2018), reflects only the total fees and costs awarded, but the

            rate and multiplier are reflected in the motion papers seeking final

            approval of the class settlement – these papers can be found on

            PACER)

         k. $600/hour (plus a 1.16 multiplier) – Zevon v. Department Stores

            National Bank, S.D.N.Y., Case No. 12-CV-7799 (PAC) (TILA case in




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                Manhattan; no written decision, but the rate and the resulting

                order were approved by the Court and the award is reflected on

                PACER)

             l. $550/hour – Heironimus v. Cavalry Portfolio Services, LLC, S.D.

                Texas, Case No. 17-CV-121 (FDCPA case in Texas; no written

                decision, but the rate and the resulting order are reflected on

                PACER)

      36.    Thus, here, my rate of $550 an hour is reasonable considering my 27

years of experience as an attorney and my extensive experience with consumer class

action litigation. See De La Paz v. Rubin & Rothman, LLC, 2013 WL 6184425 (Nov.

25, 2013), and White v. First American Registry, 2007 WL 703926 (Mar. 7, 2007) (in

both cases awarding $550 an hour to James Fishman, a seasoned attorney with

whom I have worked and lectured at the Association of the Bar of the City of New

York and at national consumer-law conferences); see also, Perez v. Tri State Auto

Mall, Inc., No. 10–cv–2389 (CBA)(JO), 2011 WL 2621323 (E.D.N.Y. June 29, 2011)

(finding a rate of $350 an hour reasonable for an attorney who has only been

practicing consumer law for slightly over 10 years).

      37.    My contemporaneous records, reflecting my office’s time, costs, and

disbursements in connection with this case, are attached as Exhibit A.

      38.    Also included in Exhibit A are the contemporaneous time records of a

former associate attorney with my office, Michael N. Litrownik, who entered his




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time under my supervision. His entries appear with “MNL” next to them at a rate of

$400 an hour.

      39.    Also included in Exhibit A are the contemporaneous time records of a

former another associate attorney with my office, Jonathan R. Miller, who entered

his time under my supervision. His entries appear with “JRM” next to them at a

rate of $400 an hour. Mr. Miller is also submitting a separate declaration and

records for the time he worked on this case after he left my office.

      40.    Based upon my records, I have accumulated approximately 211.90

hours of time at a billing rate of $550 an hour for a total of $116,545 in time.

      41.    Mr. Litrownik accumulated approximately 9.5 hours of time at a

billing rate of $400 an hour.

      42.    While he worked for my office, Mr. Miller accumulated approximately

184.4 hours of time at a billing rate of $400 an hour.

      43.    This does not include the $48,637.50 paid in sanctions by Defendants

in response to the three sanctions orders entered by the Honorable H. Kenneth

Schroder, Jr. during this litigation.

      44.    To reflect the time entries that have been paid with the above

sanctions, I have marked them as “No Charge” in Exhibit A.

      45.    One out-of-pocket fee was also paid as part of these sanctions – that is,

a fee of $1,137.50 that my office paid to a consulting Certified Public Accountant.

      46.    After deducting the $1,137.50 from the costs owing, Defendants still

owe $11,027.77.




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          47.       In sum, as of the date of this declaration, Defendants owe my office

   fees of $194,105 in time, plus costs of $11,027.77.

          48.       I am anticipating an additional 6 hours in travel time for trips to and

   from the airports and for flight time from New York to Buffalo.

          49.       I am also anticipating 3 hours to prepare for and appear at the Final

   Approval Hearing.

          50.       I am anticipating an additional $240 in cab fare for travelling to and

   from the airports in New York and in Buffalo, as well as the cost of travelling to and

   from the Courthouse and hotel there.

          51.       Together with the fees and costs incurred with my co-counsel, the total

   is as follows:

Law Office                          Fees Owing                    Costs Owing

Bromberg Law Office, P.C.                          $194,105.00                     $11,027.77

Salem Community Law Office                            44,595.00                       2,319.90

Law Offices of Kenneth                                63,060.00                        470.00
Hiller, PLLC

Total (without multiplier)                         $301,760.00                     $14,955.17



          52.       Because of the rare and extraordinary results achieved by Plaintiff

   after seven grueling years of litigation – as evidenced by the multiple awards of

   sanctions – Plaintiff requests an extremely modest multiplier of 1.11 which will

   bring the award of fees and costs to the agreed-upon amount of $350,000.




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      Under 28 U.S.C. § 1746, I, Brian L. Bromberg, do hereby certify under

penalties of perjury, that the above statements are true and correct to the extent

they reflect my personal knowledge and otherwise are based upon my information

and belief.

Dated:        New York, New York
              September 21, 2018



                                       /s/ Brian L. Bromberg
                                       Brian L. Bromberg




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